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                                                                              Loveland/DellaBetta
                        IN THE UNITED STATES DISTRICT COURT
                                                                              ____ FILED ___ ENTERED
                           FOR THE DISTRICT OF MARYLAND                       ____ LOGGED _____ RECEIVED

                                                                              9:22 am, Jun 02 2021
                                                                              AT BALTIMORE
 IN THE MATTER OF THE SEARCH OF:                                              CLERK, U.S. DISTRICT COURT
                                                                              DISTRICT OF MARYLAND
                                                                              BY ______________Deputy
 2700 MURA STRET, BALTIMORE,
 MARYLAND (“TARGET RESIDENCE                                                    1:21-mj-1165 TMD
 1”)

 739 N. KENWOOD AVENUE,                                Filed Under Seal         1:21-mj-1166 TMD
 BALTIMORE, MARYLAND (“TARGET
 RESIDENCE 2”)
                                                                                1:21-mj-1167 TMD
 5116 PEMBRIDGE AVENUE,                                Case No.
 BALTIMORE, MARYLAND (“TARGET
 RESIDENCE 3”)
                                                                                1:21-mj-1168 TMD
 THE PERSON OF YUSEF GALES-BEY

 THE PERSON OF DEQUAN ELLIS                                                     1:21-mj-1169 TMD

 THE PERSON OF DARRELLE RICH                                                    1:21-mj-1170 TMD




                              AFFIDAVIT IN SUPPORT OF
                        APPLICATIONS FOR SEARCH WARRANTS

       I, Special Agent Summer Baugh, Federal Bureau of Investigation (“FBI”) being first duly

sworn, hereby depose and state as follows:

                                        INTRODUCTION

       1.       I submit this affidavit in support of applications pursuant to Federal Rule of

Criminal Procedure 41 for the following search warrants:

   A. TARGET RESIDENCES 1-3

       2.       I request authorization to search the following locations :


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            i.    The premises located at 2700 Mura Street, Baltimore, Maryland 21213 (“TARGET

                  RESIDENCE 1”), described in Attachment A-1;

            ii.   The premises located at 739 N Kenwood Avenue, Baltimore, Maryland 21205

                  (“TARGET RESIDENCE 2”), described in Attachment A-2;

         iii.     The premises located at 5116 Pembridge Avenue, Baltimore, Maryland 21215

                  (“TARGET RESIDENCE 3”), described in Attachment A-3; and

       TARGET RESIDENCES 1-3 are also referred to collectively as the “TARGET

RESIDENCES.”

       3.         As described further in this affidavit, I submit probable cause exists to believe that

the TARGET RESIDENCES contain evidence, fruits, and instrumentalities of the following

offenses: Interstate Threats (18 U.S.C. § 875), Obstruction of Justice (18 U.S.C. § 1503); and

Witness Tampering (18 U.S.C. §§ 1512, 1513). Collectively, these offenses are referred herein as

the “SUBJECT OFFENSES.” The property to be searched for and seized from the TARGET

RESIDENCES is described in Attachment B.

   B. THE PERSONS OF YUSEF GALES-BEY, DEQUAN ELLIS, AND DARRELLE

       RICH

       4.         As described in this affidavit, I submit probable cause exists to believe that a search

of the persons of the following individuals (collectively, the “TARGET SUBJECTS”) may reveal

evidence, fruits, and instrumentalities of the SUBJECT OFFENSES: Yusef GALES-BEY

(described in Attachment A-4), Dequan ELLIS (described in Attachment A-5), and Darrelle

RICH (described in Attachment A-6). The property to be seized from the TARGET SUBJECTS

is also described in Attachment B. As discussed further in this affidavit, investigators believe the



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TARGET SUBJECTS each presently reside at a given TARGET RESIDENCE in the District

of Maryland.

       5.       Because this affidavit is being submitted for the limited purpose of establishing

probable cause for search warrants, I have not included every detail of every aspect of the

investigation. Rather, I have set forth only those facts that I believe are necessary to establish

probable cause to believe that evidence, fruits, and instrumentalities of violations of the

aforementioned federal statutes are located within the TARGET RESIDENCES and/or on

the persons of the TARGET SUBJECTS. I have not, however, excluded any information known

to me that I believe would defeat a determination of probable cause. The facts in this affidavit

come from my personal observations, my training and experience, and information obtained from

other agents, police officers, witnesses, telephone records, sources, and reports.

                                   AFFIANT BACKGROUND

       6.       I am a Special Agent with the FBI and have been since 2015. As such, I am an

officer of the United States who is empowered by law to conduct investigations of and to make

arrests for violations of federal law.

       7.       During my employment as an FBI Agent, I have been assigned to investigate

violations of federal law such as bank and armored carrier robberies, armed commercial robberies,

the apprehension of federal fugitives, extortion, and kidnapping with the FBI Violent Crimes Task

Force in Baltimore, Maryland. I have participated in the execution of search warrants in various

types of investigations involving searches and seizures of mobile phones, computers, computer

equipment, electronically stored information, email accounts, and social media accounts. I have

also received training and gained experience in the areas of computer crime investigations, cellular

analysis, and the location and tracking of cellular telephones.

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       8.       Based on my knowledge, training, and experience, I am aware that fruits and

instrumentalities of criminal activity are often concealed in digital form. Furthermore, digital

technology is often used to store evidence of criminal activity. Individuals who participate in

collective criminal activity, including extortion, frequently utilize cellular telephones to commit

their crimes and frequently communicate with one another by cellular telephone and by social

media and use of the Internet before and after those crimes. I know that individuals will use

cellular phones and communication applications to identify victims they plan to extort, to

communicate with co-conspirators to plan the extortion, to communicate with victims during the

extortion offenses, and to communicate with co-conspirators on how to split the proceeds of the

extortion or dispose of evidence that the extortion was committed. This is especially true when

the same individuals commit multiple extortionate acts against multiple victims. I also know that

individuals engaged in online criminal activities often will use multiple usernames and email

addresses in an effort to hide their true identities or locations, but may use the same physical device

to access those multiple accounts. I also know that the use of cellular telephones includes social

media applications installed and accessed from the phones, including Instagram and Google

accounts.

       9.       Based on my training, knowledge, and experience, I know that the location of a

cellular phone at a particular time (based on cell-site records and location information) may

constitute evidence of a crime. Such location information allows investigators to determine, for

example, whether a particular telephone was in the vicinity of a known address of an offender, and

whether that particular telephone was utilized for significant periods of time by the same user.

       10.      Based on my training and experience, I know that instant messages, emails,

voicemails, photos, and videos—all of which may be saved on a user’s physical device—are often

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created and used in furtherance of collective criminal activities, including extortion. I also know

individuals may take photographic images of communications or social media posts taken in

connection with the crimes committed, to share that information with others, or to store it on

electronic devices. More specifically, I know that members of collective criminal activity use

cellular telephones to further their objectives by, among other things, communicating with other

co-conspirators by talking and by text messages, including iMessages; and taking photographs and

recording videos of co-conspirators and contraband. Furthermore, based on my training and

experience, I know that such communications, photographs, and other information may be found

on an individual’s cellular device, as well as Cloud-based accounts.

       11.     I know, based on my training, knowledge, and experience that that web-based

communication accounts, such as those provided by Facebook, Instagram, Apple, and Google are

increasingly common ways for persons to communicate. Further, I am aware that Facebook and

Instagram users often use the messaging and posting functions to provide alternate contact

information, such as additional Facebook and Instagram accounts, e-mail accounts, phone

numbers, and/or other social networking contact information in order to continue and facilitate

their communications privately. Further, I am aware that Facebook, Instagram, Apple, and Google

allow users to communicate privately. Facebook and Instagram accounts often contain phone

numbers, email addresses, messages and/or emails, photos, and other registration information.

Similarly, Apple, Google, and Cash App accounts may also contain phone numbers, alternate

email addresses, messages and/or emails, financial information, photos, other registration

information as well as location information. Furthermore, based on my training, knowledge, and

experience, it is common for suspects who commit extortion to use social media and email



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accounts to communicate about their crimes. I know that information from these accounts is often

contained within a cell phone.

       12.     I know, based on my training and experience, that suspects who commit extortion

may maintain books, records, receipts, notes, ledgers, money orders, and other papers relating to

the payment of extortion demands; the proceeds derived from those transactions; and the identities

of and contact information for their victims or co-conspirators; and that they may maintain these

items in secure locations where they have ready access to them, including in the residences and

vehicles they use.

       13.     Based on my training and experience, I know that it is common for offenders to

secrete records of extortion demands and payments, amounts of currency, and financial

instruments in secure locations within residences, including in combination or key-lock safes or

strong boxes, suitcases, locked cabinets, and other types of locked or closed containers, and hidden

compartments, not for only ready access but also to conceal them from co-conspirators and law

enforcement.

       14.     I know, based on my training and experience, that suspects who commit extortion

amass proceeds from their crimes and attempt to legitimize those proceeds and that, to accomplish

this goal, utilize domestic banks and their attendant services, securities, cashier’s checks,

electronic money transfer services, or prepaid credit or debit cards, and that offenders commonly

keep records of these transactions in secure locations like residences.

       15.     Based on my training and experience, I know that in residences or other secure

locations, offenders typically maintain identification and indicia of occupancy, residency, and/or

ownership of the premises. I also know that offenders often place cellphones, vehicles, residences,

and other assets in names other than their own to avoid law enforcement surveillance or forfeiture

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and that, even though these items are in another entity or person’s name, the offenders actually

own and continue to use these cellphones, vehicles, residences, and other assets.

        16.    In my training and experience, I have learned that providers of cellular telephone

service have technical capabilities that allow them to collect and generate information about the

locations of the cellular telephones to which they provide service, including cell-site data, also

known as “tower/face information” or cell tower/sector records. Cell-site data identifies the “cell

towers” (i.e., antenna towers covering specific geographic areas) that received a radio signal from

the cellular telephone and, in some cases, the “sector” (i.e., faces of the towers) to which the

telephone connected. These towers are often a half-mile or more apart, even in urban areas, and

can be 10 or more miles apart in rural areas. Furthermore, the tower closest to a wireless device

does not necessarily serve every call made to or from that device. Accordingly, cell-site data

provides an approximate location of the cellular telephone but is typically less precise than other

types of location information, such as E-911 Phase II data or Global Positioning Device (“GPS”)

data.

        17.    Based on my training and experience, I know that wireless providers typically

collect and retain cell-site data pertaining to cellular phones to which they provide service in their

normal course of business in order to use this information for various business-related purposes.

Wireless providers also typically collect and retain information about their subscribers in their

normal course of business. This information can include basic personal information about the

subscriber, such as name and address, and the method(s) of payment (such as credit card account

number) provided by the subscriber to pay for wireless telephone service.

        18.    I also know that wireless providers typically collect and retain information about

their subscribers’ use of the wireless service, such as records about calls or other communications

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sent or received by a particular phone and other transactional records, in their normal course of

business. In my training and experience, this information may constitute evidence of the crimes

under investigation because the information can be used to identify the target device, its users(s),

or the location of the cellular device at a given time, which may assist in the identification of co-

conspirators and/or victims.

       19.     Based on the facts set forth in the affidavit, there is probable cause to believe that

the TARGET SUBJECTS are involved in the above-described federal offenses. There is also

probable cause to believe that the TARGET RESIDENCES may contain evidence, fruits, and/or

instrumentalities of the SUBJECT OFFENSES.

                                   INVESTIGATIVE FACTS

       20.     The Baltimore Police Department (BPD) and the Federal Bureau of Investigation

(FBI) are investigating a series of Instagram posts that contained extortionate threats targeting

alleged law enforcement cooperators and witnesses and labeled said cooperators and witnesses as

snitches, rats, or other derogatory terms. Some of the online threats requested payment for either

removing witness information from dedicated Instagram pages, or for never posting information

at all. The witnesses/cooperators whose information was posted online reside in multiple counties

in the state of Maryland and some have provided assistance to law enforcement in state and federal

investigations during the past five years.

Initiation of Investigation

       21.     On August 25, 2020, BPD Homicide Detectives were contacted by a family

member of a witness in an active criminal case. The family member provided screenshots from

Instagram page “ratsofbmoe” where the name and photograph of the witness was posted, along

with documentation claiming the witness was cooperating with police.              A review of the

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“ratsofbmoe” Instagram page revealed photographs of approximately 33 different individuals the

poster collectively labeled as “rats.” Posts were accompanied by some form of “paperwork”,

which included law enforcement statements of probable cause, state court transcripts, and signed

photo arrays that gave details regarding how each witness assisted police. I know from my training

and experience that “rat” is a derogatory term used to describe an individual who provides

information to law enforcement about another person’s criminal activity or who otherwise

cooperates with law enforcement.

       22.     BPD initiated a witness intimidation investigation and contacted the FBI. A cursory

review of Instagram revealed multiple variations of the “ratsofbmoe” page, several of which

contained threats and extortionate posts directed at identified witnesses. The pages appeared to be

related based on similarities in their names, profile photos, content, and explicit or circular

references to each other. Based on this information, a federal investigation was opened.

Identification of Additional Instagram Accounts

       23.     Shortly after the initial report to BPD, the “ratsofbmoe” Instagram account was no

longer active. Detectives identified “ratsofbmoe2”, which had over 4,500 followers and a caption

that stated, “Back up !! stay posted <smiling emoji and rat emoji>.” There were initially no public

posts on the page because the account was labeled as private.

       24.     On August 31, 2020, Instagram page “ratsofbmoe3” was located by BPD. Posted

on that account were 34 photographs of possible witnesses to criminal cases with comments about

their testimony or statements made to police. The caption written by the author of the page stated,

“itsMeSnitches… If you Ratted In Any Way Shape Or Form I’m On Ya Ass Idgaf If The Target

Dead Or Alive…” I know that “Idgaf” is an abbreviation for “I don’t give a fuck.” I also know

that “snitch” is a derogatory term with a meaning similar to that of “rat”. This account used as a

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profile photo a cartoon depiction of a rapper who goes by the performance name Tekashi6ix9ine

holding a piece of cheese. In well publicized court documents and media reports, Daniel

Hernandez, also known as Tekashi6ix9ine, received a reduced sentence on federal conspiracy to

commit murder and armed robbery charges in exchange for testifying against Bloods gang

members in 2019.

       25.      On September 1, 2020, Instagram page “ratsofbmoe1” was located, and a review

of the page revealed photographs of 36 different individuals posted, which included information

about the cases that they allegedly testified in or investigative documents showing how they

assisted law enforcement or served as witnesses. Many of the individuals and photos posted were

identical across “ratsofbmoe”, “ratsofbmoe1”, “ratsofbmoe2”, and “ratsofbmoe3”, suggesting they

were controlled by the same person, or by a group of individuals working together to share

information.

Links Between Accounts

       26.      By late September 2020, over ten Instagram accounts were identified that contained

variations of the “ratsofbmoe” name. In addition to similar display names, profile photos, and

content posted on the accounts, multiple references between pages were also located. For example,

a   post     observed   on   September     21,   2020    by   “ratsofbmoe3”      stated,    “Follow

@returnoftherats_ofbmoe I’m One Strike Away From Being Deleted.” A similar caption was

observed on “darealratsofbmore”, which stated, “Follow this page cuzz the other one gone get

blocked.” Additionally, several “ratsofbmore” pages “follow” other “ratsofbmore” pages. The

number of followers for each page ranged from below 100 to nearly 7,500 on “darealratsofbmore.”

Several of the pages were marked “private”, meaning content is not visible unless an Instagram

user requests to “follow” the page and is accepted by the page owner as a “follower.”

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       27.       On November 24, 2020, a United States Magistrate Judge, the Honorable Thomas

M. DiGirolamo authorized search warrants for ten Instagram accounts, including those detailed

above, in addition to other social media accounts. A review of information provided by Instagram

revealed multiple messages sent by “ratsofbmoe3” to other Instagram users stating the account

holder would not accept payment for removing individuals posted on the page. However, further

review of the account’s private messages revealed the following exchange with “ratsofbmoe1”,

suggesting the accounts were controlled by two different individuals who may be working

together:

       ratsofbmoe3: If ya page get deleted let me know I’m backing up all the info you got on
       this page broski
       ratsofbmoe1: Yoo u stealin my shit
       ratsofbmoe3: Nooo bruh it’s not like that after ya last 2 got deleted I made it shit if you
       want it I’ll give you the password and all
       ratsofbmoe1: Naw bro I don’t want nobody else doin it in case something fake come up
       …
       ratsofbmoe3: All I’m doing is repost nothing more
       ratsofbmoe1: Bet what’s the password
       ratsofbmoe1: I’m bout log in
       ratsofbmoe3: I got you let me change my email and take my phone number off it


Extortionate Posts, Threats, and Information Posted about Federal Cooperator

            28. A review of “ratsofbmoe1” on September 4, 2020, revealed the following posts:

“I’m doin deal before 12 pm 75$ I take ya paper work down for a day <laughing emoji, laughing

emoji, male facepalm emoji> stack I delete it for good stomp y’all fkn feet.” I know from my

experience that a “stack” often refers to a sum of $1,000. In another post, the user stated, “Why

tay ain’t say he want his lawyer why he talk <five rat emojis, four pencil emojis> I wouldn’t have

him up there if he ain’t rat I don’t slander I extort I mean expose.” A third post read, “I’m lookin

at my cash app and I don’t here stomping now if u ratted and I ain’t posted u yet do the right thing


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reach out and cash app cuzz once I post u the whole city gone see it.”

       29.     Several additional pages and posts were identified that repeated extortionate threats

demanding payment for removal of an individual’s information from public Instagram pages, or

advance payment to prevent information from being posted in the first place. For example, on

September 17, 2020, “ratsofbmore1” posted the following:

       “Stomp yalll fkn feet 100$ a day 1000$ get ya bitch ass down for good u know u told on a

       nigga why u sittin there contemplating hit da cash app cuzz once u posted all the bad bitches

       in da city got ya paper works <three rat emojis>.”

       30.   On September 23, 2020, “ratsofbmore_” captioned:

“Posting all the rats in Baltimore City <two laughing emojis, rat emoji> cashapp me to come

down.” At the time, the page did not contain any posts and had 90 followers.

       31.     On September 17, 2020, “ratsofbmoe4” posted a Sealed Supplement to a federal

plea agreement with a Defendant’s name visible. The text of the document stated, “This is not a

cooperation agreement.” Instagram user “ratsofbmoe4” commented, “Boy I tell u.”




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                   Instagram posts on “ratsofbmoe4” observed on 09/17/20201

       32.     On September 30, 2020, “ratsofbmoe4” posted, “Kill all rats <rat emoji> flat out

<head explosion emoji, bb gun emoji>.” Also posted was a victim’s photograph with a bb gun

emoji pointed at the victim’s head. On the other side of the victim’s head was an emoji of a head

exploding. Underneath read text, “Famous go hard rat”. 2

       33.     In addition to extortionate threats posted publicly on Instagram, a review of private

messages obtained pursuant to search warrants identified communications where federal

paperwork was solicited and/or sent via Instagram, and was later posted publicly, including the


1
  While the above was captured by viewing the publicly visible post, a review of content posted
by this account after a federal search warrant was obtained failed to locate this post, indicating that
it may have been deleted prior to the account being preserved.
2
  This victim has not yet been identified.
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identification of federal cooperating witnesses. For example, on August 24, 2020, Instagram

account “butta1983” sent “ratsofbmoe1” a picture of a federal plea agreement. In addition to

photos of federal paperwork, pictures of the defendant were also sent by “butta1983” to

“ratsofbmoe1.” The information was later posted publicly by “ratsofbmoe1”, including additional

pages of the plea agreement with text added suggesting that based on the sentence the individual

received, he or she must have cooperated with authorities. “Ratsofbmoe1” wrote, “(under Federal

Guidelines when u sign off under the “ACCA” it’s a Mandatory 15 Years. google it. only way u

can get under 15 years is if u get a 5K.1 departure for snitching.” On another post was the text,

“go to www.pacer.gov Case Number [***##-####] for original documents.. this is PUBLIC

RECORD!!! the people have the right to know.. HE CAME HOME LAST YEAR (2019)…” On

August 25, 2020, Instagram account “2stroketommy” contacted Instagram account “ratsofbmoe1”

and sent a picture of a federal plea agreement with the defendant’s name visible. Investigation

revealed that this person had, in fact, served as a cooperating witness.

Identification of Victims

       34.     Investigators believe the Instagram accounts were created to target individuals who

served as witnesses or cooperated with law enforcement and label them as “rats” and “snitches”

who are deserving of repercussions, to include physical injury or death. Being labeled a “rat” on

a public social media page also appears to be an attempt to intimidate individuals and prevent them

from providing information to the police or from testifying in court when required to do so. Thus,

the posts undermine the legal system and the ability for the courts and law enforcement to perform

their lawful duties in the administration of justice. Further, some of the comments on these

Instagram pages contained death threats against “rats” in general, and also against specific

individuals posted as “rats.” Additionally, the accounts made multiple posts concerning soliciting

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payment in order to remove content. The word “extort” was used explicitly. It therefore seems

that the posts and threats (explicit and implicit) of repercussions were made with the intent to extort

money from victims and witnesses.

       35.     To date, BPD has identified approximately 36 individuals posted on the above

Instagram pages. Investigators have made contact with several of them to determine if they have

received any direct threats or have concerns for their safety based on the information posted about

them online. One victim was interviewed and stated, in substance, that he was sent a text message

containing the post of his personal information on one of the above-mentioned Instagram pages.

Shortly after that, the victim was confronted on the street by an associate of the person who texted

him. The associate pulled a gun on the victim and called him a “rat.” This example illustrates the

concern law enforcement has for the safety of witnesses and victims based on the posting of the

information made by these accounts. It also illustrates why people may be dissuaded from

appearing for court or cooperating with law enforcement, thus the posts on these accounts serve to

undermine and obstruct the administration of justice.

       36.     At least one of the individuals identified on “ratsofbmoe3” is deceased. A comment

posted by “ratsofbmoe3” next to paperwork describing cooperation with law enforcement stated,

“Was this page active before he died NO was his paperwork sent to me YES Dead or Alive I Will

Tell The Story.”

       37.     Investigation to date has revealed at least two verified federal confidential sources

or cooperators were posted by at least one of the TARGET SUBJECTS. A victim who was

identified as a confidential source in a separate federal narcotics investigation and hereinafter “CS-




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1”3 , engaged in a direct message conversation on Instagram with the user of “ratsofbmore1” at

the request of CS-1’s handling agent. During the private conversation, the user of “ratsofbmore1”

told CS-1, “75$ I take it down right now.” At this time, no payment has been made by CS-1 in

exchange for removing CS-1’s information from Instagram, as “ratsofbmore1” did not provide a

money transfer platform or account to send payment to, after CS-1 inquired about how to make

payment.

Identification of the TARGET SUBJECTS and TARGET RESIDENCES

       38.     Based on a review of information obtained from Instagram (Facebook) and other

electronic service providers, TARGET SUBJECTS Yusef GALES-BEY, Dequan ELLIS, and

Darrelle RICH, as well as another person, Daquan YOUNG (a juvenile) were identified as being

associated with one or more email accounts and/or telephone numbers linked to Instagram pages

that posted/facilitated the posting of extortion demands/threats or identified/facilitated the

identification of victims and witnesses to crimes using derogatory terms such as snitch or rat.

       Yusef GALES-BEY

       39.     As detailed above, Instagram account “ratsofbmoe1” made several public posts

demanding Cash App payments in exchange for not posting victim information. On September 3,

2020 at 10:39am, “ratsofbmoe1” posted, “I’m doin deal before 12 pm 75$ I take ya paper work

down for a day <laughing emoji, laughing emoji, male facepalm emoji> stack I delete it for good



3
  Confidential Source 1 (CS-1): CS-1 began cooperating with the FBI in 2019 and previously
cooperated with a state law enforcement agency. CS-1 is associated with multiple members of a
drug conspiracy/organization located in Baltimore, Maryland. The information provided by CS-1
has been found to be reliable and has been corroborated by other investigative means. CS-1
receives financial compensation in return for cooperation on drug-related matters, however
because CS-1 is a victim in this case, CS-1 has not been financially compensated for any assistance
provided related to the extortion investigation. CS-1 has numerous convictions for crimes of
violence, theft, and other drug-related crimes.
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stomp y’all fkn feet.” According to records provided by Facebook, the post was uploaded using

Comcast IP address 73.135.195.194. Further, a review of IP logins for “ratsofbmoe1” on

September 3, 2020 identified Comcast IP address 2603:3003:1cb8:6000:b8f2:2b5b:52c5:5704

used to log into the account at approximately 2:34pm. On February 16, 2021, Comcast provided

subscriber information for the two IP addresses at the precise times that they were used to upload

information to or log into “ratsofbmoe1.” Comcast IP address 73.135.195.194 was subscribed to

Catherine Ware at address 602 W. Franklin Street, Apartment 5, Baltimore, Maryland 21201 and

telephone        number          443-882-0825.                 Comcast          IP          address

2603:3003:1cb8:6000:b8f2:2b5b:52c5:5704 was subscribed to “Bey Brothers Mortgage Com” at

address 6305 Belair Rd. Ste. 3, Baltimore, Maryland 21206 and associated telephone number 410-

258-1259 (SUBJECT TELEPHONE 1).

       40.     Subscriber information for “ratsofbmoe1” provided by Facebook listed

beybrothers410@gmail.com as the email address associated with the account.              Subscriber

information for beybrothers410@gmail.com provided by Google indicated the account was

created on August 1, 2017, with account name “Yungk410bey” and birthday February 9, 1988.

Additional Instagram accounts identified as linked to beybrothers410@gmail.com included

“ratsofbmoe”, “ratsofbmore”, and “darealratsofbmore.” Additional Instagram accounts linked to

SUBJECT TELEPHONE 1 included “ratsofbmore” and “ratsofbmore1.”

       41.     A review of messages sent by Instagram account “r.s.n_yungk”, which was

associated with email address getdownmusicgroup410@gmail.com, revealed messages on

December 19, 2020, where the account user stated, “I grab one u come out”, followed by, “2700

Mura st.”    On December 22, 2020, Apple provided subscriber records associated with



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getdownmusicgroup410@gmail.com, which listed SUBJECT TELEPHONE 1 as the telephone

number associated with the account.

       42.    An open source query of Maryland business registrations revealed “Yusef Gales

Bey” registered “Bey Brothers Mortgage, LLC” on December 16, 2019 with address 6210 Robin

Hill Rd., Baltimore, Maryland and business address 541 E. Patapsco Ave. Suite 201, Baltimore,

Maryland. An inquiry with the Maryland Department of Public Safety and Correctional Services

revealed Yusef GALES-BEY was under the supervision of a probation officer as recently as

March 2019 for a drug conviction in 2015. On February 14, 2019, GALES-BEY reported his

telephone number as SUBJECT TELEPHONE 1 and his address was 6210 Robin Hill Rd.

Baltimore, Maryland to law enforcement as part of an unrelated matter. GALES-BEY’s date of

birth matches the date of birth provided by the registered user of beybrothers410@gmail.com.

       43.    On November 28, 2020, Yusef GALES-BEY filed a complaint with the

Westminster Police Department related to a child custody issue. At time of the report, GALES-

BEY provided his telephone number as 410-627-4860 and his address as 2700 Mura Street,

Baltimore, Maryland (TARGET RESIDENCE 1).

       44.    On April 14, 2021, PayPal provided subscriber records associated with SUBJECT

TELEPHONE 1, which included PayPal account number 1164470257234928168, with

subscriber email address beybrothersmortgage@gmail.com, and user “Yusef Gales Bey” with

home address 6210 Robin Hill Road, Baltimore, Maryland and a gift address of TARGET

RESIDENCE 1. The PayPal account was created and the gift address was entered on October 28,

2020. SUBJECT TELEPHONE 1 was listed as “Confirmed.”

       45.    On January 12, 2021, Cash App provided subscriber information for a Cash App

account associated with SUBJECT TELEPHONE 1. Cashtag “allthere443” was associated with

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subscriber name “Yusef Gales Bey”; date of birth February 9, 1988; and address 6210 Robin Hill

Road, Baltimore, Maryland. A review of Cash App transactions sent to and from the account did

not reveal any money transfers that contained memo information indicating they were extortion

payments. However, multiple payments were received from Cash App user “Catherine Ware”

(subscriber of the IP address used to upload the extortionate post mentioned in paragraph 35 on

September 3, 2020).

       46.    On February 4, 2021, Sprint provided subscriber information and toll records for

SUBJECT TELEPHONE 1, which indicated the phone number was active and subscribed to

“Donte Brown”, subscriber address 1117 Tiffany Ct. Baltimore, Maryland 21201. The device was

listed as having IMEI 354917095178240, which resolves to an Apple iPhone 7, Model A1660

(SUBJECT DEVICE 1). According to call records provided by Sprint, one of the top five callers

for SUBJECT TELEPHONE 1 is 443-882-0825 (the telephone number provided by Catherine

Ware, subscriber of the IP address used to upload the extortionate post mentioned above on

September 3, 2020). A review of individuals associated with 1117 Tiffany Ct. Baltimore,

Maryland conducted using law enforcement databases indicated possible resident “Donte Brown”

with date of birth February 9, 1988 (the same date of birth as provided for Cash App and Google

accounts linked to GALES-BEY). A review of Maryland Motor Vehicle Administration records

failed to locate an individual with the name “Donte Brown” and date of birth February 9, 1988.

Further review of Maryland Motor Vehicle Administration records determined Yusef Ali GALES-

BEY has a valid Maryland Driver’s License with listed date of birth February 9, 1988 and address

6210 Robin Hill Rd. Gwynn Oak, Maryland.

       47.    Physical surveillance was conducted at 6210 Robin Hill Road, Baltimore, Maryland

on March 24, 2021. A blue Honda bearing Maryland registration 4DN9655 was observed parked

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on the property in a covered spot. According to Maryland Motor Vehicle Administration (MVA)

checks, the registered owner of the vehicle was determined to be Yvonne Gales-Bey, with address

6210 Robin Hill Road, Baltimore, Maryland. Law enforcement database checks list Yvonne

Gales-Bey as the possible mother of Yusef GALES-BEY.

          48.   On March 22, 2021, United States Magistrate Judge Hon. A. David Copperthite of

the District Court of Maryland authorized search warrants for GPS ping data and the use of a cell

site simulator for SUBJECT TELEPHONE 1 (associated with GALES-BEY), SUBJECT

TELEPHONE 2 (associated with ELLIS), SUBJECT TELEPHONE 3 (associated with RICH),

and another phone number associated with Daquan YOUNG. Location data for SUBJECT

TELEPHONE 1 was obtained from Sprint beginning on March 24, 2021. Since that time, an

analysis of GPS “ping” data (carrier provided location-based services, described further below)

for approximately three weeks has determined SUBJECT TELEPHONE 1 is most frequently

located near the intersection of N. Lakewood Avenue and E. Preston Street in Baltimore, with a

consistent radius of 72 meters (approximately .0441 miles or 236 feet). During that time,

SUBJECT TELEPHONE 1 has consistently been located in this area with the above radius

during the overnight hours of midnight until 6:00am. The center of the radius is approximately

400 feet from TARGET RESIDENCE 1, and the outer portion of the radius terminates at the

alley behind TARGET RESIDENCE 1, placing TARGET RESIDENCE 1 just outside the

radius.

          49.   Physical surveillance was conducted at TARGET RESIDENCE 1 on April 9,

2021. A Honda Accord bearing Maryland registration 2EA9678 and an Acura MDX bearing

Maryland registration 9EH2498 were observed parked on the property. According to MVA

checks, the registered owner of the 2006 Honda Accord is Yusef Ali GALES-BEY at 6210 Robin

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Hill Road, Gwynn Oak, Maryland, 21207, and the registered owner of the 2004 Acura MDX is

Bey Brothers Mortgage LLC, at 6305 BelAir Road, Baltimore, Maryland 21206.

       50.     A spot check was conducted at TARGET RESIDENCE 1 on April 14, 2021 at

approximately 4:55pm. A red Nissan Sentra bearing Maryland registration 4EL7336 and an Acura

MDX bearing Maryland registration 9EH2498 were observed parked on the property. Physical

surveillance was conducted at the location at approximately 5:30pm. A black male matching the

description of Yusef GALES-BEY was observed near the rear door of the residence, and then

entered a red Nissan Sentra parked on the property and drove away. (According to MVA checks,

the registered owner of the Nissan Sentra is Ikeda Benjamin at 848 Abbott Court, Baltimore,

Maryland.) Shortly after this person was observed, investigators checked the GPS “ping” data

which showed that SUBJECT TELEPHONE 1 was located near the intersection of N. Lakewood

Avenue and E. Preston Street in Baltimore with a radius of approximately 71 meters at 5:22pm.

The next “ping” registered from SUBJECT TELEPHONE 1 located it across town in East

Baltimore at 6:07pm, with a radius of approximately 443 meters. This is consistent with the

observation of the person matching GALES-BEY’s description having driven away in the Nissan

Sentra. The subscriber address for SUBJECT TELEPHONE 1, 1117 Tiffany Ct. Baltimore,

Maryland, is located within this radius.

       51.     A spot check was conducted at TARGET RESIDENCE 1 on April 16, 2021 at

approximately 4:50am. An Acura MDX bearing Maryland registration 9EH2498 was observed

parked on the property. An analysis of GPS “ping” data determined SUBJECT TELEPHONE 1

was located near the intersection of N. Calvert Street and E. Eager Street in the Mount Vernon

area of Baltimore at 5:07am, with a radius of approximately 201 meters. The next “ping”

registered from SUBJECT TELEPHONE 1 was located near the intersection of N. Lakewood

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Avenue and E. Preston Street in Baltimore with a radius of approximately 71 meters at 5:37am. A

second spot check was conducted at TARGET RESIDENCE 1 at 6:00am. A red Nissan Sentra

bearing Maryland registration 4EL7336 and an Acura MDX bearing Maryland registration

9EH2498 were observed parked on the property.

       52.     An inquiry for the utilities subscriber at TARGET RESIDENCE 1 on April 15,

2021, returned results for “Yuses A. Gales-Bey.” 4

       Dequan ELLIS

       53.     As detailed above, Instagram account “ratsofbmoe3” communicated with

“ratsofbmoe1” about “backing up” information and sharing a password, suggesting the accounts

were controlled by two different individuals working together. According to records provided by

Facebook, “ratsofbmoe3” and “returnoftherats_ofbmoe” listed dequanellis40@icloud.com and

443-469-0171 (SUBJECT TELEPHONE 2) as the email address and telephone number

associated with the accounts.

       54.     On December 15, 2020, in response to a federal search warrant, Apple provided

account information for Apple ID dequanellis40@icloud.com, which listed SUBJECT

TELEPHONE 2 as the telephone number associated with the account. Apple also provided the

IMEI for the cellular device associated with the account as 356137097451595.

       55.     On February 4, 2020, Sprint provided subscriber information for SUBJECT

TELEPHONE 2, which indicated the phone number was active and subscribed to Dequan ELLIS,

subscriber address 2777 The Alameda, Baltimore, Maryland 21218. The device was listed as




4
  “Yuses” is so spelled in the records. I note that “Yuses” is one letter off from “Yusef” and that
the “s” key on a standard keyboard is in the same row as the “f” key, and those two letters are
separated by one key, “d”.
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having an Electronic Serial Number of 089556352907623001, which resolves to an IMEI of

356137097451595 (the same as provided by Apple on December 15, 2020 pursuant to a search

warrant for dequanellis40@icloud.com) for an Apple iPhone 6S, Model A1688 (SUBJECT

DEVICE 2). According to law enforcement databases, Dequan ELLIS was associated with that

address from 2009-2015.      A review of Maryland Motor Vehicle Administration records

determined Dequan Michael ELLIS has a valid Maryland State ID at address 739 N Kenwood

Ave, Baltimore, Maryland 21205 (TARGET RESIDENCE 2).

       56.    Pursuant to the federal search warrant for a pen register and location data for

SUBJECT TELEPHONE 2, Sprint provided data beginning on March 24, 2021. Since that time,

an analysis of GPS “ping” data for approximately three weeks has determined SUBJECT

TELEPHONE 2 is most frequently located in East Baltimore, within a radius of 3,067 meters, or

1.89 miles. Specifically, SUBJECT TELEPHONE 2 has registered this consistent radius each

day, centered near the intersection of E. Eager Street and N. Linwood Avenue in Baltimore during

the hours of midnight until 6:00am. TARGET RESIDENCE 2 is within this radius.

       57.    Physical surveillance was conducted at TARGET RESIDENCE 2 from

approximately 6:00am to 6:30am on April 12, 2021 to April 16, 2021. Each morning, an individual

was observed exiting the residence and getting into a different vehicle. At least one vehicle

displayed a placard or sign indicating it was a rideshare (e.g. Uber or Lyft). On April 15, 2021,

the occupant of TARGET RESIDENCE 2 was dropped off near the University of Maryland,

Baltimore Police Department, located at 214 N. Pine Street, Baltimore, Maryland. On April 15,

2021, a representative from the University of Maryland, Baltimore Police Department confirmed

Dayshawn Ellis was employed there as an unarmed security guard.



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       58.      A review of records from the Maryland Department of Public Safety and

Correctional Services (DPSCS) revealed the mother of Dequan ELLIS was identified as Cynthia

Fulton. A review of open source information identified Elma McDonald as the likely mother of

Cynthia Fulton (i.e. the maternal grandmother of ELLIS). A review of records from the Maryland

Department of Assessments and Taxation determined TARGET RESIDENCE 2 was owned by

Elma Ruth Fulton McDonald. Dayshawn Ellis, believed to reside at TARGET RESIDENCE 2

based on physical surveillance, shares the same birthday with Dequan ELLIS, and has a social

security number one digit lower than ELLIS, indicating she is likely his twin sister.

       59.      Physical surveillance was conducted at TARGET RESIDENCE 2 on April 14,

2021. At approximately 5:18pm, a black male matching the description of Daquan ELLIS was

observed existing TARGET RESIDENCE 2, crossing Kenwood Avenue, and walking

southbound on Kenwood Avenue. An analysis of “ping” data on April 14, 2021 at 5:18pm located

SUBJECT TELEPHONE 2 near the intersection of E. Eager Street and Linwood Avenue, with

a radius of 3,035 meters. SUBJECT RESIDENCE 2 is within this radius.

       Darelle RICH

       60.      As detailed above, on September 30, 2020 Instagram account “ratsofbmoe4” posted

a victim photograph followed by the threat, “kill all rats.” According to records provided by

Facebook, “ratsofbmoe4”, “410rats”, “ratsofbmoe410”, “wzone_legend”, “wzonetrapper”, and

“travonjones” listed 443-897-8389 (SUBJECT TELEPHONE 3) as the telephone number

associated with the accounts. Instagram account “travonjones” was registered with email address

darnellrichardson7@gmail.com.

       61.      According to records provided by Facebook, a review of IP logins for

“ratsofbmoe4”       on     October     1,     2020      identified    Comcast        IP      address

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2601:14d:4103:71a0:edb7:5a8d:b195:dd65 used to log into the account at approximately 9:04pm.

On February 16, 2021, Comcast provided subscriber information for that IP address, which was

subscribed to Tadesha Brinkley at address 5116 Pembridge Avenue, Baltimore, MD 20215

(TARGET RESIDENCE 3) and telephone number 443-414-6668. A review of other Instagram

posts by “ratsofbmoe4” on September 12, 2020 and September 16, 2020 returned similar results

from Comcast, indicating the IP addresses were dynamically assigned, but also subscribed to

Tadesha Brinkley at TARGET RESIDENCE 3.

       62.    On January 12, 2021, Cash App provided subscriber information for Cashtag

“darrellerich”, which was associated with subscriber name “Darrelle Christopher Rich”; date of

birth January 28, 1990; address as TARGET RESIDENCE 3; and telephone number as

SUBJECT TELEPHONE 3.

       63.    An inquiry with the Maryland Department of Public Safety and Correctional

Services revealed RICH was under the supervision of a probation officer as recently as May 2020

for a local drug conviction in 2019. On May 14, 2020, RICH reported his telephone number as

SUBJECT TELEPHONE 3.

       64.    On December 4, 2020, in response to a subpoena, Sprint provided subscriber

information for SUBJECT TELEPHONE 3, which indicated the phone number was subscribed

to “Travon James”, subscriber address as TARGET RESIDENCE 3, with service cancelled on

June 19, 2020. On January 26, 2021, in response to a subpoena, AT&T provided subscriber

information for SUBJECT TELEPHONE 3, which indicated a service start date of June 19, 2020

to subscriber “Tracfone Wireless” at address 8390 NW 25 th St. Miami, Florida 33122. Open

source research returned results associating that address as a business address for Tracfone

Wireless. AT&T records listed the device associated with SUBJECT TELEPHONE 3 as having

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an IMEI of 353815083965804, which resolves to an Apple iPhone 7Plus, Model A1784

(SUBJECT DEVICE 3).

       65.    According to call records provided by AT&T, one of the top callers for SUBJECT

TELEPHONE 3 is 443-414-6668 (the telephone number provided by Tadesha Brinkley,

subscriber of the IP address mentioned in paragraph 45 on October 1, 2020). Open search queries

for “Darrelle Rich” returned results at www.registry.thebump.com for “Tadesa Brinkley &

Darrelle Rich’s Baby Registry” at Target, with due date October 7, 2020 and location Baltimore,

Maryland.

       66.    A review of Maryland Motor Vehicle Administration records determined Darrelle

Christopher RICH has a valid Maryland Learner’s Permit with listed date of birth January 28,

1990 and address as TARGET RESIDENCE 3.

       67.    On March 31, 20201, a trash cover was conducted at TARGET RESIDENCE 3.

Items observed in the trash included mail addressed to Darrelle RICH and Tadesa Brinkley.

       68.    Pursuant to the federal search warrant for a pen register and location data for

SUBJECT TELEPHONE 3, AT&T provided data beginning on March 30, 2021. Since that time,

an analysis of GPS “ping” data for approximately two weeks has determined SUBJECT

TELEPHONE 3 is most frequently located in the area around the Pimlico Race Course in the

Park Heights Area of Baltimore, with a radius ranging from 88 meters, or .05 miles to

approximately 492 meters, or .30 miles. During this time, SUBJECT TELEPHONE 3 has

consistently been located within this radius range during the hours of midnight until 6:00am.

TARGET RESIDENCE 3 is within the smaller radius range of 88 meters.

Status of Instagram Pages



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       69.       As of March 2021, the majority of the above Instagram pages have been removed

or shut down by Instagram in response to complaints filed by other Instagram users, as well as law

enforcement requests. Preservation requests were previously filed for all pages, therefore it is

anticipated subscriber information and page content will still be available in response to federal

legal process.

       70.       Based on a review of Instagram and social media account activity to date, I believe

the TARGET SUBJECTS intended to expose the identities of cooperators and/or extort money

from potential victims posted online as well as other victims not yet posted or identified. The

Instagram posts also contain threats designed to injure the reputation of the victims, to include

deceased persons, and in at least one case issued a death threat to a victim. It is still unknown how

many victims were featured on private pages, how many victims have been directly contacted or

threatened by the Instagram user(s) of those pages, or how many victims have provided payment

in order to remove their information or prevent their information from being posted.

       71.       Based on the information provided above, I believe the TARGET SUBJECTS are

involved in creating, advertising, maintaining, and facilitating public and private extortionate posts

on Instagram targeting individuals alleged to be federal and state law enforcement cooperators. In

my experience, subjects who commit extortion tend to keep and store communications and other

information in their residences and on their phones well after the completion of such crimes and

continue to communicate through their phones or other means about their crimes after the crimes

have been completed. Thus, I believe that there is information contained in the TARGET

RESIDENCES and on the SUBJECT TELEPHONES that may still contain evidence relevant

to the investigation of the TARGET OFFENSES.



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       CELL PHONES, ELECTRONIC STORAGE, FORENSIC ANALYSIS, AND
                        BIOMETRIC UNLOCKING
        72.     As discussed earlier in this affidavit, investigators have identified various cellular

phones used by the TARGET SUBJECTS. The following chart summarizes the SUBJECT

TELEPHONES and SUBJECT DEVICES used by the TARGET SUBJECTS, as discussed

previously in this affidavit:



 TARGET SUBJECT/USER                SUBJECT TELEPHONE              SUBJECT DEVICE
 Yusef GALES-BEY                    410-258-1259                   IMEI 354917095178240
 Dequan ELLIS                       443-469-0171                   IMEI 356137097451595
 Darrelle RICH                      443-897-8389                   IMEI 353815083965804


        73.     I believe the above-described phones constitute evidence of the SUBJECT

OFFENSES because possession of the phones will evidence the identity of the users of the phones.

Recovering and examining these phones is critical to uncovering further evidence and will also

establish a particular phone user’s role in the commission of the SUBJECT OFFENSES.

        74.     Investigators believe that while the above-described phones will contain fruits and

evidence of the SUBJECT OFFENSES, it is also likely that other cellular telephones currently

utilized by the TARGET SUBJECTS likely contain similar evidence of the SUBJECT

OFFENSES. I also believe that other devices used by the TARGET SUBJECTS will contain

evidence of the SUBJECT OFFENSES because, as noted above, phones often import data from

prior phones (i.e. contact lists, photos, messages, applications, etc.). Therefore, this warrant

authorizes the search and seizure of: (a) the SUBJECT DEVICES; (b) any cell phones,

computers, and storage media found in the bedroom or sleeping quarters of the TARGET

SUBJECTS within their respective TARGET RESIDENCES; (c) any cell phones, computers,


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and storage media found on the persons of the TARGET SUBJECTS; (d) any cell phones,

computers, and storage media found in close proximity to the TARGET SUBJECTS, or in close

proximity to a space the TARGET SUBJECTS had recently occupied; (e) any cell phones,

computers, and storage media found in the TARGET RESIDENCES that through circumstances

and investigation is reasonably believed to be/have been owned, used or accessed by the TARGET

SUBJECTS ;and (f) any cell phones, computers, and storage media identified by the TARGET

SUBJECTS, or another occupant/resident of the TARGET RESIDENCES as belonging to the

TARGET SUBJECTS (collectively the “DEVICES”).

       75.      As described above and in Attachment B, this application seeks authorization to

search for contraband, evidence, fruits, and instrumentalities of the SUBJECT OFFENSES that

might be found on the DEVICES in whatever form they are found. One form in which the

evidence might be found is as records in the form of data stored on a cell phone, a computer’s hard

drive, or other storage media. Thus, the warrant applied for would authorize the seizure and search

of cell phones, computers, and storage media and, potentially, the copying of electronically stored

information, all under Rule 41(e)(2)(B).

       76.      Probable cause. I submit that if a cell phone, computer, or storage medium is found

in the TARGET RESIDENCES and/or the persons of the TARGET SUBJECTS, there is

probable cause to believe those records will be stored on that cell phone, computer or storage

medium, for at least the following reasons:

             a. Based on my knowledge, training, and experience, I know that computer files or

                remnants of such files can be recovered months or even years after they have been

                downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic

                files downloaded to a storage medium can be stored for years at little or no cost.

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                Even when files have been deleted, they can be recovered months or years later

                using forensic tools. This is so because when a person “deletes” a file on a

                computer, the data contained in the file does not actually disappear; rather, that data

                remains on the storage medium until it is overwritten by new data.

             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

                slack space—that is, in space on the storage medium that is not currently being used

                by an active file—for long periods of time before they are overwritten. In addition,

                a computer’s operating system may also keep a record of deleted data in a “swap”

                or “recovery” file.

             c. Wholly apart from user-generated files, computer storage media—in particular,

                computers’ internal hard drives—contain electronic evidence of how a computer

                has been used, what it has been used for, and who has used it. To give a few

                examples, this forensic evidence can take the form of operating system

                configurations, artifacts from operating system or application operation, file system

                data structures, and virtual memory “swap” or paging files. Computer users

                typically do not erase or delete this evidence, because special software is typically

                required for that task. However, it is technically possible to delete this information.

             d. Similarly, files that have been viewed via the Internet are sometimes automatically

                downloaded into a temporary Internet directory or “cache.”

       77.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only cell phone and computer files that might serve as direct evidence of

the crimes described on the warrant, but also for forensic electronic evidence that establishes how

the cell phones and computers were used, the purpose of their use, who used them, and when.

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There is probable cause to believe that this forensic electronic evidence will be on the DEVICES

because:

            a. Data on the storage medium can provide evidence of a file that was once on the

               storage medium but has since been deleted or edited, or of a deleted portion of a

               file (such as a paragraph that has been deleted from a word processing file). Virtual

               memory paging systems can leave traces of information on the storage medium that

               show what tasks and processes were recently active.          Web browsers, e-mail

               programs, and chat programs store configuration information on the storage

               medium that can reveal information such as online nicknames and passwords.

               Operating systems can record additional information, such as the attachment of

               peripherals, the attachment of USB flash storage devices or other external storage

               media, and the times the computer was in use. Computer file systems can record

               information about the dates files were created and the sequence in which they were

               created, although this information can later be falsified.

            b. As explained herein, information stored within a cell phone, computer, and other

               electronic storage media may provide crucial evidence of the “who, what, why,

               when, where, and how” of the criminal conduct under investigation, thus enabling

               the United States to establish and prove each element or alternatively, to exclude

               the innocent from further suspicion. In my training and experience, information

               stored within a computer or storage media (e.g., registry information,

               communications, images and movies, transactional information, records of session

               times and durations, Internet history, and anti-virus, spyware, and malware

               detection programs) can indicate who has used or controlled the computer or

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    storage media. This “user attribution” evidence is analogous to the search for

    “indicia of occupancy” while executing a search warrant at a residence. The

    existence or absence of anti-virus, spyware, and malware detection programs may

    indicate whether the computer was remotely accessed, thus inculpating or

    exculpating the computer owner. Further, computer and storage media activity can

    indicate how and when the computer or storage media was accessed or used. For

    example, as described herein, computers typically contain information that log:

    computer user account session times and durations; computer activity associated

    with user accounts; electronic storage media that connected with the computer; and

    the IP addresses through which the computer accessed networks and the Internet.

    Such information allows investigators to understand the chronological context of

    computer or electronic storage media access, use, and events relating to the crime

    under investigation. Additionally, some information stored within a computer or

    electronic storage media may provide crucial evidence relating to the physical

    location of other evidence and the suspect. For example, images stored on a

    computer may both show a particular location and have geolocation information

    incorporated into its file data. Such file data typically also contains information

    indicating when the file or image was created. The existence of such image files,

    along with external device connection logs, may also indicate the presence of

    additional electronic storage media (e.g., a digital camera or cellular phone with an

    incorporated camera). The geographic and timeline information described herein

    may either inculpate or exculpate the computer user. Last, information stored

    within a computer may provide relevant insight into the computer user’s state of

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    mind as it relates to the offense under investigation. For example, information

    within the computer may indicate the owner’s motive and intent to commit a crime

    (e.g., Internet searches indicating criminal planning), or consciousness of guilt

    (e.g., running a “wiping” program to destroy evidence on the computer or password

    protecting/encrypting such evidence in an effort to conceal it from law

    enforcement).

 c. A person with appropriate familiarity with how a cell phone or computer works

    can, after examining this forensic evidence in its proper context, draw conclusions

    about how cell phones or computers were used, the purpose of their use, who used

    them, and when.

 d. The process of identifying the exact files, blocks, registry entries, logs, or other

    forms of forensic evidence on a storage medium that are necessary to draw an

    accurate conclusion is a dynamic process. While it is possible to specify in advance

    the records to be sought, computer evidence is not always data that can be merely

    reviewed by a review team and passed along to investigators. Whether data stored

    on a computer is evidence may depend on other information stored on the computer

    and the application of knowledge about how a computer behaves. Therefore,

    contextual information necessary to understand other evidence also falls within the

    scope of the warrant.

 e. Further, in finding evidence of how a cell phone or computer was used, the purpose

    of its use, who used it, and when, sometimes it is necessary to establish that a

    particular thing is not present on a storage medium. For example, the presence or



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                absence of counter-forensic programs or anti-virus programs (and associated data)

                may be relevant to establishing the user’s intent.



       78.      Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer’s data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded on

the storage media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:

             a. The time required for an examination. As noted above, not all evidence takes the

                form of documents and files that can be easily viewed on site. Analyzing evidence

                of how a computer has been used, what it has been used for, and who has used it

                requires considerable time, and taking that much time on premises could be

                unreasonable. As explained above, because the warrant calls for forensic electronic

                evidence, it is exceedingly likely that it will be necessary to thoroughly examine

                storage media to obtain evidence. Storage media can store a large volume of

                information. Reviewing that information for things described in the warrant can

                take weeks or months, depending on the volume of data stored, and would be

                impractical and invasive to attempt on-site.



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             b. Technical requirements. Computers can be configured in several different ways,

                featuring a variety of different operating systems, application software, and

                configurations. Therefore, searching them sometimes requires tools or knowledge

                that might not be present on the search site. The vast array of computer hardware

                and software available makes it difficult to know before a search what tools or

                knowledge will be required to analyze the system and its data on the premises.

                However, taking the storage media off-site and reviewing it in a controlled

                environment will allow its examination with the proper tools and knowledge

             c. Variety of forms of electronic media. Records sought under this warrant could be

                stored in a variety of storage media formats that may require off-site reviewing with

                specialized forensic tools.


       79.      Nature of examination.        Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, and/or otherwise

copying storage media that reasonably appear to contain some or all of the evidence described in

the warrant and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

                                       Biometric Unlocking

       80.      I am further seeking permission, pursuant to these warrants to permit law

enforcement to, using a device’s biometric features, compel the TARGET SUBJECTS to unlock:

(a) any of the DEVICES. I seek this authority based on the following:

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       81.     From training and experience, I also know that users of cellular devices also carry

their cell phones on their persons or keep them in close proximity so they can access them.

       82.     I know from my training and experience, as well as from information found in

publicly available materials published by device manufacturers, that many electronic devices,

particularly newer mobile devices and laptops, offer their users the ability to unlock the device

through biometric features in lieu of a numeric or alphanumeric passcode or password. These

biometric features include fingerprint scanners, facial recognition features, and iris recognition

features. Some devices offer a combination of these biometric features, and the user of such

devices can select which features they would like to utilize.

       83.     If a device is equipped with a fingerprint scanner, a user may enable the ability to

unlock the device through his or her fingerprints. For example, Apple offers a feature called

"Touch ID," which allows a user to register up to five fingerprints that can unlock a device. Once

a fingerprint is registered, a user can unlock the device by pressing the relevant finger to the

device's Touch ID sensor, which is found in the round button (often referred to as the "home"

button) located at the bottom center of the front of the device. The fingerprint sensors found on

devices produced by other manufacturers have different names but operate similarly to Touch.

       84.     If a device is equipped with a facial-recognition feature, a user may enable the

ability to unlock the device through his or her face. For example, this feature is available on certain

Android devices and is called "Trusted Face." During the Trusted Face registration process, the

user holds the device in front of his or her face. The device's front-facing camera then analyzes

and records data based on the user's facial characteristics. The device can then be unlocked if the

front-facing camera detects a face with characteristics that match those of the registered face.



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Facial recognition features found on devices produced by other manufacturers (such as Apple's

"Face ID") have different names but operate similarly to Trusted Face.

       85.     If a device is equipped with an iris-recognition feature, a user may enable the ability

to unlock the device with his or her irises. For example, on certain Microsoft devices, this feature

is called "Windows Hello." During the Windows Hello registration, a user registers his or her

irises by holding the device in front of his or her face. The device then directs an infrared light

toward the user's face and activates an infrared-sensitive camera to record data based on patterns

within the user's irises. The device can then be unlocked if the infrared-sensitive camera detects

the registered irises. Iris-recognition features found on devices produced by other manufacturers

have different names but operate similarly to Windows Hello.

       86.     In my training and experience, users of electronic devices often enable the

aforementioned biometric features because they are considered to be a more convenient way to

unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover, in

some instances, biometric features are considered to be a more secure way to protect a device's

contents. This is particularly true when the users of a device are engaged in criminal activities and

thus have a heightened concern about securing the contents of a device.

       87.     As discussed in this affidavit, I have reason to believe that the above-described

DEVICES are in the possession of the TARGET SUBJECTS and that they will be found during

the search of the TARGET RESIDENCES or the searches of the TARGET SUBJECTS’

persons. The passcodes or passwords that would unlock the cell phones subject to search under

this warrant currently are not known to law enforcement. Thus, law enforcement personnel may

not otherwise be able to access the data contained within the cell phones, making the use of

biometric features necessary to the execution of the search authorized by this warrant.

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       88.     I also know from my training and experience, as well as from information found in

publicly available materials including those published by device manufacturers, that biometric

features will not unlock a device in some circumstances even if such features are enabled. This

can occur when a device has been restarted, inactive, or has not been unlocked for a certain period.

For example, Apple devices cannot be unlocked using Touch ID when: (1) more than 48 hours has

elapsed since the device was last unlocked; or, (2) when the device has not been unlocked using a

fingerprint for 8 hours and the passcode or password has not been entered in the last 6 days.

Similarly, certain Android devices cannot be unlocked with Trusted Face if the device has

remained inactive for four hours. Biometric features from other brands carry similar restrictions.

Thus, in the event law enforcement personnel discover that a DEVICE is locked and is equipped

with biometric features, the opportunity to unlock the device through a biometric feature may exist

for only a short time.

       89.     Based on the foregoing, if law enforcement personnel encounter the cell phones

described above pursuant to this warrant and the phones may be unlocked using one of the

aforementioned biometric features, this warrant permits law enforcement personnel to obtain from

the TARGET SUBJECTS, the display of any physical biometric characteristics (such as

fingerprint/thumbprint or facial characteristics) necessary to unlock the DEVICES, including to

(1) press or swipe the fingers (including thumbs) of the aforementioned person(s) to the fingerprint

scanner of the DEVICES; (2) hold the DEVICES in front of the face of the TARGET

SUBJECTS to activate the facial recognition feature; and/or (3) hold the DEVICES in front of

the face of the TARGET SUBJECTS to activate the iris recognition feature, for the purpose of

attempting to unlock the DEVICES in order to search the contents as authorized by this warrant.



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       90.     The proposed warrant does not authorize law enforcement to require that the

TARGET SUBJECTS state or otherwise provide the password or identify specific biometric

characteristics (including the unique finger(s) or other physical features) that may be used to

unlock or access the DEVICES. Nor does the proposed warrant authorize law enforcement to use

the fact that the warrant allows law enforcement to obtain the display of any biometric

characteristics to compel the aforementioned person(s) to state or otherwise provide that

information. However, the voluntary disclosure of such information by the aforementioned

person(s) would be permitted under the proposed warrant. To avoid confusion on that point, if

agents in executing the warrant ask the TARGET SUBJECTS for the passwords to the cell

phones, or to identify which biometric characteristic (including the unique finger(s) or other

physical features) unlocks the cell phones, the agents will not state or otherwise imply that the

warrant requires the person to provide such information and will make clear that providing any

such information is voluntary and that the person is free to refuse the request.

                                AUTHORIZATION REQUEST

       91.     I submit that there is probable cause to believe that violations of the SUBJECT

OFFENSES have been committed by the TARGET SUBJECTS and that there is probable cause

to search the persons of the TARGET SUBJECTS and the TARGET RESIDENCES as further

described in Attachment B. I further submit that there is probable cause to believe that evidence,

fruits, and instrumentalities of these crimes will be found in the DEVICES.




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                                            ________________________________
                                            Special Agent Summer Baugh
                                             Federal Bureau of Investigation


              Affidavit submitted by email and attested to me as true and accurate by telephone

consistent with Fed. R. Crim. P. 4.1 and 41(d)(3) this ____________ day of _______________,

2021.



                                           ____________________________
                                           Honorable Thomas M. DiGirolamo
                                           United States Magistrate Judge




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                                      ATTACHMENT A-1

                     Location to be Searched: TARGET RESIDENCE 1


       TARGET RESIDENCE 1 is located at 2700 Mura Street, Baltimore, Maryland

21213. The property consists of a two-story brick rowhome end unit with white awnings and

steps leading to a front door that has a black wrought iron security door.




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                                      ATTACHMENT A-2

                     Location to be Searched: TARGET RESIDENCE 2


       TARGET RESIDENCE 2 is located at 739 N. Kenwood Avenue, Baltimore,

Maryland 21205. The property consists of a two-story brick rowhome with white awnings and

steps leading to a front door with a white wrought iron security door.




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                                      ATTACHMENT A-3

                      Location to be Searched: TARGET RESIDENCE 3


       TARGET RESIDENCE 3 is located at 5116 Pembridge Avenue, Baltimore,

Maryland 21215. The property consists of a two-story stone and tan color rowhome with one

step leading to a white front door.




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                                 ATTACHMENT A-4

                                Person to be Searched

Yusef GALES-BEY, a man born February 9, 1988 and assigned an FBI number ending in 3FC8.




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                                  ATTACHMENT A-5

                                 Person to be Searched

Dequan ELLIS, a man born June 24, 1991 and assigned an FBI number ending in 6PD7.




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                                  ATTACHMENT A-6

                                  Person to be Searched

Darrelle RICH, a man born January 28, 1990 and assigned an FBI number ending in 6PC3.




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                                       ATTACHMENT B

             ITEMS AND INFORMATION TO BE SEIZED AND SEARCHED
All items and information found in TARGET RESIDENCE 1 (described in Attachment A-1),
TARGET RESIDENCE 2 (described in Attachment A-2), TARGET RESIDENCE 3
(described in Attachment A-3), (collectively, “the TARGET RESIDENCES”), and the persons
of Yusef GALES-BEY (described in Attachment A-4), Dequan ELLIS (described in
Attachment A-5), Darrelle RICH, and (described in Attachment A-6) that are or contain
evidence of a crime, fruits of a crime, or instrumentalities of the crimes of Interstate Threats (18
U.S.C. § 875); Obstruction of Justice (18 U.S.C. § 1503); and Witness Tampering (18 U.S.C.
§§ 1512, 1513) (collectively, “the SUBJECT OFFENSES”), including the following:


           1. Records relating to the violations described above, including:
                   a. Documents, records, or information relating to an extortion demand or
                      payment;
                   b.Documents, records, or information relating to the acquisition, possession,
                      or distribution of court paperwork;
                   c. Mailings, communications, letters, and correspondence sent or received to
                      or by persons detained or incarcerated in correctional and detention
                      facilities or send or received by persons who are employed by correctional
                      and detention facilities;
                   d.Documents, records, or information relating to communications with co-
                      conspirators, including wire, electronic, and written communications;
                   e. Documents, records, or information relating to identities of victims and/or
                      co-conspirators, including photographs, contact information, addresses,
                      calendars, and identification documents;
                   f. Financial records, including bank records, checks, credit card bills, account
                      information, safe deposit boxes, and any other items reflecting the
                      obtaining, secreting, transfer, and/or concealment of assets;
                   g.Documents, items, records, or information relating to indicia of occupancy,
                      residency, and ownership or use of the TARGET RESIDENCES,
                      including, but not limited to, utility and telephone bills, cancelled
                      envelopes, rental, purchase, or lease agreements, identification documents,
                      and keys; and
                   h.Documents, records, or information that are evidence of ownership or use
                      of digital devices found in the TARGET RESIDENCES;
                   i. Documents, items, records, or information related to pending or closed
                      court cases, including but not limited to cooperation with law enforcement,
                      the identity of witnesses.
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                   j. Documents, items, records, or information related to the use or ownership
                      of electronic accounts, such as Instagram accounts



          2. Safes or other locked storage containers that may contain any of the items
             referenced herein, as well as keys or other items used to access these locations,
             including keys to any vehicles to be searched pursuant to the warrant.



          3. All cell phones, computers, and storage media (as defined below) identified as
             belonging to Yusef GALES-BEY (described in Attachment A-4), Dequan ELLIS
             (described in Attachment A-5), and Darrelle RICH (described in Attachment
             A-6), including the following:
                  a. Any cell phones, computers, and storage media found on the persons of
                     GALES-BEY, ELLIS, or RICH;
                  b. Any cell phones, computers, and storage media found in the bedroom
                     or sleeping quarters of GALES-BEY, ELLIS, or RICH;
                  c. Any cell phones, computers, and storage media found in close proximity to
                     GALES-BEY, ELLIS, or RICH, or in close proximity to a space that
                     GALES-BEY, ELLIS, or RICH had recently occupied;
                  d. any cell phones, computers, and storage media found in the
                     TARGET RESIDENCES that through circumstances and investigation is
                     reasonably believed to be/have been owned, used or accessed by the
                     GALES-BEY, ELLIS, or RICH;
                  e. Any cell phones, computers, and storage media identified by GALES-BEY,
                     ELLIS, or RICH or another occupant/resident of the TARGET
                     RESIDENCES as belonging to GALES-BEY, ELLIS, or RICH;
                  f. The cellular telephone assigned call number 410-258-1259, and/or IMEI
                     354917095178240, (hereinafter, “SUBJECT DEVICE 1”);
                  g. The cellular telephone assigned call number 443-469-0171, and/or
                     IMEI 356137097451595 (hereinafter, “SUBJECT DEVICE 2”);
                  h. The cellular telephone assigned call number 443-897-8389, and/or
                     IMEI 353815083965804 (hereinafter, “SUBJECT DEVICE 3”);
                  i. any and all adapters, chargers, or other hardware items necessary to charge
                     the battery, or to maintain the functioning of the DEVICES;


        The above-described cell phones, computers, and storage media are referred to herein
as the “DEVICES.” The warrant also authorizes the search of the DEVICES for the following:

                   a. evidence of who used, owned, or controlled the DEVICES at the time the
                      things described in this warrant were created, edited, or deleted, such as
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            logs, registry entries, configuration files, saved usernames and passwords,
            documents, browsing history, user profiles, email, email contacts, “chat,”
            instant messaging logs, photographs, and correspondence;
         b.Call logs reflecting date and time of received calls;
         c. Any and all digital images and videos of persons associated with this
            investigation;
         d.Text messages to and from the DEVICES that refer or relate to the crimes
            under investigation;
         e. Records of incoming and outgoing voice communications that refer or relate
            to the crimes under investigation;
         f. Voicemails that refer or relate to the crimes under investigation;
         g.Voice recordings that refer or relate to the crimes under investigation;
         h.Any data reflecting the DEVICES’ locations;
         i. Contact lists;
         j. Any and all records related to the location of the user(s) of the devices;
         k.evidence of software that would allow others to control the DEVICES, such
            as viruses, Trojan horses, and other forms of malicious software, as well as
            evidence of the presence or absence of security software designed to detect
            malicious software;
         l. evidence of the lack of such malicious software;
         m.          evidence indicating how and when the computer was accessed or
            used to determine the chronological context of computer access, use, and
            events relating to the crime(s) under investigation and to the computer user;
         n.evidence indicating the computer user’s knowledge and/or intent as it
            relates to the crime(s) under investigation;
         o.evidence of the attachment to the DEVICES of other storage devices or
            similar containers for electronic evidence;
         p.evidence of programs (and associated data) that are designed to eliminate
            data from the DEVICES;
         q.evidence of the times the DEVICES were used;
         r. passwords, encryption keys, and other access devices that may be necessary
            to access the DEVICES that are found stored within the DEVICES
         s. records of or information about Internet Protocol addresses used by the
            DEVICES;
         t. records of or information about the DEVICES’ Internet activity, including
            firewall logs, caches, browser history and cookies, “bookmarked” or
            “favorite” web pages, search terms that the user entered into any Internet
            search engine, and records of user-typed web addresses;
         u.contextual information necessary to understand the evidence described in
            this attachment;
         v.records and information relating to the SUBJECT OFFENSES;


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                    w.        records and information relating to the identity or location of the
                      persons suspected of violating the statutes described above;
                    x.records and information related to the use or ownership of social media and
                      electronic accounts, such as Instagram, Cash App, etc.
                    y.Records, information, and items relating to violations of the statutes
                      described above including data from third-party applications (including
                      social media applications like Facebook and Instagram and messaging
                      programs like WhatsApp and Snapchat).

        As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

        The term “computer” includes all types of electronic, magnetic, optical, electrochemical,
or other high-speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, laptop computers, notebook computers, mobile phones, tablets,
server computers, and network hardware.

        The term “storage medium” includes any physical object upon which computer data can
be recorded, including external and internal hard drives, flash drives, thumb drives, micro SD
cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular phones capable of storage,
floppy disks, compact discs, magnetic tapes, memory cards, memory chips, and other magnetic or
optical media.

        DEVICE UNLOCK:            During the execution of the search of the TARGET
RESIDENCES and persons of Yusef GALES-BEY (described in Attachment A-4), Dequan
ELLIS (described in Attachment A-5), Darrelle RICH (described in Attachment A-6), and
with respect to any of the DEVICES described in this attachment, law enforcement personnel are
authorized to search the DEVICES and unlock them by: (1) pressing or swiping the fingers
(including thumbs) of GALES-BEY, ELLIS, and/or RICH to the fingerprint scanner of the
DEVICES; (2) holding the DEVICES in front of the face of GALES-BEY, ELLIS, and/or
RICH to activate the facial recognition feature; and/or (3) holding the DEVICES in front of the
face of GALES-BEY, ELLIS, and/or RICH to activate the iris recognition feature, for the
purpose of attempting to unlock the device(s), and attempting to access data contained in the
DEVICES, in order to search the contents as authorized by these warrants.

        With respect to the search of any of the cell phones, computers and items described above
(including the DEVICES) which are stored in the form of magnetic or electronic coding on
computer media or on media capable of being read by a computer with the aid of computer-related
equipment (including CDs, DVDs, thumb drives, flash drives, hard disk drives, or removable
digital storage media, software or memory in any form), the search procedure may include the
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following techniques (the following is a non-exclusive list, and the government may use other
procedures that, like those listed below, to minimize the review of information not within the list
of items to be seized as set forth herein, while permitting government examination of all the data
necessary to determine whether that data falls within the items to be seized):

   a. Surveying various file “directories” and the individual files they contain (analogous to
      looking at the outside of a file cabinet for markings it contains and opening a drawer
      believed to contain pertinent files);
   b. “opening” or cursorily reading the first few “pages” of such files in order to determine their
      precise contents;
   c. “scanning” storage areas to discover and possible recover recently deleted files;
   d. “scanning” storage areas for deliberately hidden files; or
   e. Performing keyword searches or other search and retrieval searches through all electronic
      storage areas to determine whether occurrences of language contained in such storage areas
      exist that are intimately related to the subject matter of the investigation.

       If after performing these procedures, the directories, files or storage areas do not reveal
evidence of the SUBJECT OFFENSES other criminal activity, or evidence of who owns or uses
the device, the further search of that particular directory, file or storage area, shall cease.

        With respect to the search of the information provided pursuant to this warrant, law
enforcement personnel will make reasonable efforts to use methods and procedures that will locate
and expose those categories of files, documents, communications, or other electronically stored
information that are identified with particularity in the warrant while minimizing the review of
information not within the list of items to be seized as set forth herein, to the extent reasonably
practicable. If the government identifies any seized communications that may implicate the
attorney-client privilege, law enforcement personnel will discontinue its review and take
appropriate steps to segregate all potentially privileged information so as to protect it from
substantive review. The investigative team will take no further steps regarding any review of
information so segregated absent further order of the court. The investigative team may continue
to review any information not segregated as potentially privileged.

       Items of potential forensic value will be recovered and processed using a variety of means
employed by forensic evidence technicians and specialists. Recovery of these items may result in
damage to property. These recovery methods may include, but are not limited to, removing
sections of tile, flooring, drywall, plaster, drain plumbing, or by employing other methods of
recovery in locations where investigators believe the presence of forensic evidence may be present.




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